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                                        October 28, 2019

                         FILED UNDER SEAL
        CONTAINS INFORMATION SUBJECT TO FBI PROTECTIVE ORDER

Via Electronic Mail

The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

Re:    In re Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

        Pursuant to Local Rule 37.2, Saudi Arabia requests a pre-motion conference regarding
discovery requests served by Plaintiffs on Saudi Arabia on October 10, 2019. These requests are
untimely. They were served more than 10 months after the deadline for Plaintiffs to present to
the Court disputes about the appropriate scope of any further jurisdictional discovery. Moreover,
all but one of these belated discovery requests are squarely prohibited by this Court’s prior
rulings that Plaintiffs may not seek Saudi Arabia’s post-9/11 investigation files.

       Saudi Arabia conferred with Plaintiffs by email on October 24, 2019, and by phone on
October 28, asking them to withdraw these discovery requests, but Plaintiffs have refused to do
so. For the reasons set forth below, Saudi Arabia requests that this Court grant a protective order
under Rule 26(c) preventing these discovery requests or, in the alternative, set a briefing
schedule for Saudi Arabia to move for such an order.

       1.a. This Court set a two-stage schedule for written discovery. First, Saudi Arabia
was to complete its responses to written discovery by July 31, 2018. See ECF No. 4009; ECF
No. 4015, at 37-38. Second, the parties were “to meet and confer and make good faith efforts to
resolve any disputes with respect to any documents that have been withheld and any disputes
with respect to the appropriate scope of any further jurisdictional discovery” and to present any
disputes to the Court by September 21, 2018. ECF No. 4009. At Plaintiffs’ request, the
September 21 deadline for presenting remaining disputes was postponed twice until November
30. See ECF Nos. 4115, 4213; ECF No. 4237, at 41:16-42:5.
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                                                     Repectfully submitted,

                                                     /s/ Michael K. Kellogg

                                                     Michael K. Kellogg
                                                     Counsel for the Kingdom of Saudi Arabia

Enclosures

cc:    The Honorable George B. Daniels (by overnight mail)
       Service list for the Plaintiffs, the United States, and Dallah Avco (by email)
